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                                              Page 136                                                Page 138
 1 person. You see that?                             1 addressed, yes. But I am not exactly -- I not
 2    A Uh-huh (affirmative).                        2 remember that specific one, yeah.
 3    Q You agree?                                   3     Q It seems as if he somehow knows you
 4    A Yes, sir.                                    4 because he refers to you personally, he says Ashar?
 5    Q And the attachment has a photo on it,        5     A Yeah, maybe he come often and talk to me,
 6 correct?                                          6 yes, yes.
 7    A Yes.                                         7     Q But you do not recall --
 8    Q And it indicates the age, race, gender,      8     A I don't recall, yes, sir.
 9 height, weight of that missing person, correct?   9     Q Do you remember anybody else at the
10    A Yes.                                        10 hotel, whether it was Mr. Shareef or somebody else,
11    Q And the name of --                          11 talking with an Investigator Wade about J.G.?
12    A Yes.                                        12     A I'm not sure.
13    Q -- the missing person too?                  13     Q Mr. Islam, I take it the answer is no,
14    A Yes.                                        14 but did you hold a staff meeting and talk about
15    Q And you see it says J.G., age 16, 5-7?      15 this notice that you had received?
16    A Yeah.                                       16     A Not exactly the staff meeting. Actually
17    Q Weight, black, so on and so forth?          17 whenever somebody come after my shift, I discuss
18    A Uh-huh (affirmative).                       18 with them, okay, there's some things -- there's
19    Q Do you remember seeing this notice?         19 somebody left that and this is behind the counter.
20    A I don't recall that. But I do see -- do     20 If you see anybody like that or if you see anybody
21 got those messages by email, but I'm not exactly 21 under this name, so there's a number underneath,
22 remember that specific one.                      22 you can call them or let me know if you see any
23    Q You do not remember receiving this          23 kind of information regarding that person, yes.
24 notice?                                          24     Q So when you finish your shift, you would
25    A I don't remember, yeah.                     25 provide a notice like that to whoever was taking
                                              Page 137                                                Page 139
 1    Q Again, you're not disputing that you did        1 over at the front desk?
 2 receive it?                                          2     A Yeah. If we have like hard copies, yes.
 3    A No, I'm not disputing it.                       3 Usually we just put in the back of our office so
 4    Q You're just saying I don't --                   4 the customer don't see directly, but our office
 5    A I don't --                                      5 staff can see those persons so they can let us
 6    Q -- remember receiving it?                       6 know, maybe the housekeepers or maintenance or
 7    A -- remember.                                    7 whoever. That's the only people who able to see
 8    Q Then I assume -- but tell me if I'm             8 that picture, not the customers.
 9 wrong -- I assume that you do not remember what you 9      Q But if I'm understanding correctly, you
10 did after receiving this; is that correct?          10 wouldn't have a staff meeting where you call
11    A Maybe when I received that I just check        11 everybody in and you say okay, I want everybody to
12 those that tenant list and -- yes. But I don't      12 be aware that we just received an email from this
13 remember what respond I did at that time, yeah.     13 investigator in Rockdale County about a missing
14    Q You do not remember what you did in            14 16-year-old girl suspected to be at our hotel, here
15 response --                                         15 is her photo, I want everybody to be looking for
16    A Yeah.                                          16 this girl. If you see her, please immediately
17    Q -- to that notice, correct?                    17 alert me.
18    A Yeah.                                          18     A Yeah, basically --
19    Q Do you remember communicating with             19     Q Did any meeting like that happen?
20 Investigator Wade?                                  20        MR. UNDERRINER: Object to form.
21    A No, I don't remember.                          21     A No, not like meeting, meeting. But we
22    Q Do you remember him visiting the hotel?        22 put that -- whenever we put those flyer on that
23    A Not exactly that one. But there is like        23 wall, it means does everybody have to -- they
24 a couple of investigator and officers come and talk 24 already know what to do if that's what we discuss,
25 to me, and I tell them whatever need to be          25 not specifically for that person, but whenever we

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 1 got any kind of notice like that, so we put on that        1 I think that's what we would have done but I'm not
 2 wall so everybody knows what is -- why this is             2 sure?
 3 there.                                                     3     A Yeah, I'm not sure.
 4     Q Describe the wall to me. What's hanging              4     Q You don't have a specific memory of
 5 on the wall?                                               5 putting it on the wall?
 6     A Well, basically this is behind the                   6     A Exactly this one, yeah. But we put those
 7 office. So there's like where we punch our                 7 over there, yeah.
 8 timecards, so that's the wall where we have --             8     Q I would have been surprised if you had a
 9 where we put all those kind of like notices or             9 specific memory of putting it on the wall.
10 anything need to be addressed to anybody -- to            10     A Yeah.
11 everybody, we just put that over there so whenever        11     Q It sounds, if I'm hearing your testimony,
12 anybody come, any person punch a time card will see       12 that you have gotten missing persons reports
13 those notices. And if they have any question, they        13 before?
14 talk to me or whoever is on the shift.                    14     A Yes, sir.
15     Q How many items would you say are hanging            15     Q Is it common in your experience for those
16 on the wall?                                              16 reports to concern minors or is that uncommon?
17     A Mostly those missing persons paperwork              17        MR. UNDERRINER: Object to form.
18 and sometime we have some like wanted pictures from       18     A What your exact question is?
19 the DeKalb County or the other counties also and          19 BY MR. BOUCHARD:
20 anything what we want to tell those -- our                20     Q Do the missing persons reports that you
21 employees or like our co-workers so we can make a         21 have seen since you have worked at United Inn and
22 copy of the IDs and put it there just in case             22 Suites typically concern minors?
23 somebody see that person, that person damage              23     A Minors?
24 anything or that person is not allowed on this            24     Q People under the age of 18.
25 property like a DNR list thing, yes.                      25     A Sometime I suppose so, yeah.
                                                  Page 141                                                  Page 143
 1     Q So are there two or three pictures on the            1    Q Is it 50/50? Is it more common that
 2 wall or is it a wall with --                               2 they're adults?
 3     A Wall with --                                         3        MR. UNDERRINER: Object to the form.
 4     Q -- many pictures?                                    4    A I am not exactly sure 50/50. But there
 5     A Wall with I can say more than two, three,            5 are sometime the elderly person also and the kids
 6 four pictures.                                             6 also, yes.
 7     Q More than ten?                                       7 BY MR. BOUCHARD:
 8     A Yes. If you talking about the driving                8    Q They can come in all ages?
 9 license, driving licenses, yes, more than ten,             9    A Yes.
10 yeah.                                                     10    Q I didn't know --
11     Q More than 20?                                       11    A Missing -- missing person, yes.
12     A Maybe 20, yeah.                                     12    Q I didn't know if one was more common than
13     Q So 20 photos on the wall?                           13 another. I would think for example, Mr. Shareef,
14     A Yes, sir. Yes, sir. I'm talking about               14 that a missing child might be less common than a
15 the driving license.                                      15 missing adult because adults have cars and means of
16     Q Well, I'm talking about the wall that               16 getting away and other things that kids often
17 you're saying --                                          17 don't.
18     A Yes.                                                18    A Mostly --
19     Q -- this photo would have been put on.               19        MR. UNDERRINER: Object to the form,
20     A Yeah, this photo --                                 20 there's no question pending.
21     Q There would have been about 20 or more              21    A Mostly I can say youngsters I can say.
22 photos on that wall?                                      22 BY MR. BOUCHARD:
23     A Yes. Yes.                                           23    Q Most of the missing persons reports that
24     Q And are you sure that this notice was put           24 you have seen generally concern younger people?
25 on that wall or are you saying maybe it was because       25    A Younger people, yeah.

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